                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,
                             Plaintiffs,
 v.                                                        No. 1:19-cv-272-LCB


 DALE FOLWELL, in his official capacity as
 State Treasurer of North Carolina; DEE
 JONES, in her official capacity as Executive
 Administrator of the North Carolina State
 Health Plan for Teachers and State Employees;
 NORTH CAROLINA STATE HEALTH
 PLAN FOR TEACHERS AND STATE
 EMPLOYEES; and STATE OF NORTH
 CAROLINA, DEPARTMENT OF PUBLIC
 SAFETY,
                         Defendants.




 DECLARATION OF BLUE CROSS BLUE SHIELD OF NORTH CAROLINA
         I, AIMEE FOREHAND, on behalf of Blue Cross and Blue Shield of North

Carolina ("BCBSNC"), state that to the best of my knowledge and based on a review

of BCBSNC's records, the following is true and accurate:


      1. BCBSNC is a non-profit medical services corporation, which is organized and

existing under the laws of the State of North Carolina. BCBSNC is headquartered

in Durham, North Carolina.

      2. BCBSNC is the Third-Party Administrator ("TPA") of the North Carolina State

Health Plan for Teacher and State Employees (the "State Health Plan" or the "Plan").

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   3. The State Health Plan is a self-funded customer of BCBSNC, which means

that, in addition to deciding what benefits the Plan will provide to Plan participants

each year, the Plan is also solely responsible for paying for all the benefits it has

agreed to provide.

   4. As TPA for the Plan, BCBSNC has a contract with the Plan to provide

administrative services on behalf of the Plan. More specifically, after a participating,

in-network healthcare provider provides a medical service to a Plan participant, the

medical provider submits a claim to BCBSNC which processes the claim according to

the terms of Plan and determines the amount of reimbursement that the healthcare

provider will receive by the Plan for that service based on the terms of the Plan and

the network participation agreement between BCBSNC and the participating

provider.

   5. The contract between the Plan and BCBSNC is an Administrative Services

Only (hereafter "ASO") contract, which means that BCBSNC provides only

administrative services that relate to the processing of the claims. BCBSNC has

provided these services to the Plan for more than 30 years.

   6. In addition to serving as a TPA for the Plan and other customers, BCBSNC

also sells private health insurance to groups and individuals. BCBSNC uses its

claims processing system and standards in the same manner for both its private

health insurance business and its work as the TPA for the Plan.                In both




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circumstances, the BCBSNC operates in the manner accepted as the industry

standard for the provision of healthcare benefits.

   7. In accordance with industry practice, BCBSNC uses industry-standard

procedural codes and diagnostic codes to determine whether a claim submitted to it

by a healthcare provider for a specific medical treatment is compensable by the Plan.

These diagnostic and procedural codes are not created by BCBSNC, but are uniform

across the American health care, health benefits plan, and health insurance

industries. Diagnostic codes are classification of diseases as provided by the ICD

("International Classification of Diseases").   Medical services and procedures are

identified by a distinctive alphanumeric code known as CPT code ("Current

Procedural Terminology"). Every medical service has its own unique CPT Code.

   8. In order to request reimbursement for the medical service provided to a Plan

participant, an in-network health care provider submits a claim to BCBSNC on an

established industry form (either a CMS-1500 or UB-04 form depending on the type

of provider; copies attached) or through an electronic billing agreement which

requires the same information.

   9. To receive reimbursement, a healthcare provider must submit a claim that

contains both a diagnostic code and a corresponding procedural code (or, for facilities,

a revenue code rather than a procedural code), among other information. This is the

standard requirement across the national health insurance industry.          Failure to

submit both a diagnostic code and a corresponding procedural code results in denial

of the claim.



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   10. When BCBSNC receives a claim for reimbursement from a provider,

BCBSNC's automated claims systems reviews the claim to determine whether it is

for a benefit covered by the Plan. If the medical treatment is a covered treatment,

BCBSNC authorizes reimbursement to the healthcare provider by the Plan.

   11.Each year, the State Health Plan creates a benefits booklet, which describes

the benefits and reimbursement levels offered to eligible Plan participants. As TPA,

BCBSNC receives and reviews the final Plan benefit booklet each year. BCBSNC is

responsible for implementation of the benefits outlined in the benefit booklet.

Because the benefits booklet does not contain or identify either procedural or

diagnostic codes, BCBSNC-in consultation with the Plan staff-implements the

coding for the benefits covered by the Plan.

   12. When a healthcare provider performs a service for a Plan participant, the

provider submits a claim to BCBSNC for reimbursement (as a benefit provided by the

Plan). For more than 90% of claims submitted to BCBSNC for Plan beneficiaries, the

process is automated, meaning it is processed electronically without being separately

reviewed by a person.

   13.As part of the claim submission, BCBSNC receives the name of the Plan

participant, the name of the healthcare provider, the age and sex of the Plan

participant, the ICD diagnostic code, and the CPT procedural Code, among other

information. This is the industry-standard information required for claims submitted

to insurance providers for reimbursement of expenses for medical services, and this

information is submitted by the physician or other healthcare provider where the



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physician or healthcare provider is a participating, in-network provider. BCBSNC

has a publicly available manual for healthcare providers that advises them on what

information must accompany a claim, and how to properly submit a claim.

   14.As part of the claim submission process, BCBSNC does not request or require

that the healthcare provider identify the transgender status of any person seeking

medical care. The BCBSNC claim submission process does not include any method

for the healthcare provider to submit this information, and the transgender status of

any person is not recorded within the BCBSNC databases.

   15. Certain claims require approval by BCBSNC before the medical service is

provided to the Plan participant. BCBSNC and the State Health Plan jointly decide

which claims will be subject to this preauthorization requirement. All inpatient

surgical procedures require preauthorization. There is no separate or unique

preauthorization requirement for claims submitted on behalf of individuals who

identify as transgender.

   16.Further, in determining whether to approve or deny a claim, BCBSNC does

not consider whether the Plan participant identifies as transgender.           More

specifically, BCBSNC does not track whether any specific Plan participant identifies

as transgender, cisgender, gender non-binary, etc. Thus, the transgender status of

any person--or whether any person identifies as transgender-is not a fact that

BCBSNC uses at any time to determine whether BCBSNC will approve a claim for

benefits for State Health Plan participants.




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   17.BCBSNC processes claims for medical services provided to an individual who

identifies as transgender in the exact same manner as BCBSNC processes claims for

medical services provided to an individual who does not identify as transgender.

BCBSNC process claims for medical services for gender non-binary individuals in the

exact same manner as BCBSNC processes claims for medical services for an

individual who identifies as neither transgender nor gender non-binary.

   18.As noted above, in excess of 90% of submitted claims are approved by

BCBSNC's claims-processing software. Claims not approved in this fashion because,

for example, the software has identified a potential duplicate bill, are manually

processed by BCBSNC employees. After this employee review, claims are approved

or denied. Reasons to deny a claim include: incorrect coding (diagnosis or procedure),

duplicative billing, failure to obtain prior authorization when required, or other

reasons.

   19.BCBSNC will not approve a claim, or preauthorization, for a service not

covered by the Plan.

   20. To the best of my knowledge, prior to January 1, 2017, in its implementation

of the Plan Benefit Booklet, BCBSNC denied preauthorization for 4 specific surgeries,

regardless of the diagnostic code.


                                         Table 1


                    CPT Code              Description of Surgery
                       55970         Intersex Surgery, Male to Female
                       55980         Intersex Surgery, Female to Male


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                     57335         Vaginoplasty for Intersex State
                     56805         Clitoroplasty for Intersex State




   21. To best of my knowledge, prior to January 1, 2017, BCBSNC either denied

preauthorization or reimbursement for claims for the following procedures when the

procedural code   is for     treatment    of one   of two   diagnostic codes:    F64.0

(Transsexualism) or Z87.890 (Personal history of sex reassignment):


                                         Table 2
 CPT Code                               Description of Surgery
  54400     Insertion of Penile Prosthesis; non-inflatable (semi-rigid)
  C1813     Prosthesis, Penile, Inflatable
  54401     Insertion of Penile Prosthesis; inflatable (self-contained)
  54405     Insertion of multi-component, inflatable penile prosthesis, including
            placement of pump, cylinders, and reservoir
   54406    Removal of multi-component Inflatable Penile
   54408    Repair Components(s) multi-component, Inflatable Penile
   54410    Removal and replacement of all components(s) of a multi-component,
            inflatable penile prosthesis at the same operative session
   54411    Removal and replacement of all components of a multi-component inflatable
            penile prosthesis through an infected field at the same operative session,
            including irrigation and debridement of infected tissue
   54415    Removal non-inflatable (semi-rigid) /inflatable
   54416    Removal and replacement of non-inflatable (semi-rigid) or inflatable (self-
            contained) penile prosthesis at the same operative session
   54417    Removal and replacement of a non-inflatable (semi-rigid) or inflatable (self-
            contained) penile prosthesis through an infected field at the same operative
            session, including irrigation and debridement of infected tissue
  54660     Insertion of Testicular Prosthesis (separate procedure)
  55175     Scrotoplasty (simple)
  55180     Scrotoplasty (complicated)
  56800     Plastic Repair of Introitus
  57291     Construction of artificial vagina (without graft)
  57292     Construction of artificial vagina (with graft)
  19316     Mastopexy
  19318     Breast Reduction
  57295     Revision (including removal) of prosthetic vaginal graft

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   57296     Revision (including removal) of prosthetic vagina graft
   19325     Breast Augmentation with implant
   17380     Electrolysis Epilation, each .5 hour


   22.Although the industry-standard medical claim form requires a healthcare

provider to identify the sex of the Plan participant, BCBSNC does not use the sex of

the Plan participant to evaluate whether claims for the benefits identified above are

covered by the Plan. This is true whether the claim is processed automatically or

manually.   Approval or denial of a claim is based solely on the procedural and

diagnostic codes identified above.

   23.Beginning on January 1, 2017, the Plan directed BCBSNC to approve claims

when submitted with the procedures listed in Table 1-without regard to the

diagnostic code-and in Table 2, when submitted with the two identified diagnostic

codes.

   24.Beginning on January 1, 2018, at the direction of the Plan, BCBSNC returned

to its 1990-2016 claims processing rules, and thereafter denied claims for the above-

referenced procedures because they were not included as benefits provided by the

Plan.

   25.BCBSNC would not approve a claim for cosmetic procedures for any Plan

participant, regardless of the diagnostic code. The State Health Plan benefit booklet

defines cosmetic services as not covered, and the Plan does not cover cosmetic

surgeries. Accordingly, the following procedures, which, under the 1990-2016 claims

processing rules described above, are considered cosmetic procedures, are not

covered: shoulder shaping, chin contouring and implants, face lifts (unless as a


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medically necessary part of other facial procedures), facial bone osteoplasty, forehead

reduction and contouring, mandible reduction, mandible contouring or mandible

augmentation, and chondrolaryngoplasty (tracheal shave).

   26.BCBSNC does not process claims for the vast majority of pharmaceuticals or

hormones, although it does process claims for the administration of some

pharmaceuticals, e.g. intravenous infusions.

   27.BCBSNC has never implemented the portion of the Plan's benefit booklets that

excludes "surgery for psychological or emotion reasons." More specifically, BCBSNC

does not have diagnostic codes or procedural codes connected to this language from

the Plan's benefits book that would prevent any claim from being approved, without

regard to whether the Plan participant identified as cisgender, transgender, gender

non-binary, or otherwise.

   28. BCBSNC processes all claims for behavioral health treatment to be potentially

reimbursed by the Plan.      For behavioral health treatment, healthcare provider

payment requests are not screened by diagnosis. Rather, notwithstanding the

language contained in the Plan's benefits book, BCBSNC authorizes payment for all

behavioral health services, if they are otherwise within the Plan's benefits, regardless

of the submitted diagnosis code. This has been true since at least 1990. BCBSNC

claims processing does not distinguish between an individual diagnosed with gender

dysphoria or another psychiatric diagnosis.         Plan participants with claims for

behavioral health treatment are not denied because the submitted claim identified

gender dysphoria as the diagnosis.



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   29.BCBSNC, as TPAofthe State Health Plan does not code or track whether Plan

participants identify as transgender, cisgender, gender non-binary, or otherwise, and

BCBSNC's implements the benefit booklets of the State Health Plan without denying

coverage for any healthcare service on the basis of a Plan participant's identification

as transgender, cisgender, gender non-binary, or otherwise.


   I declare and verify under penalty of perjury that the foregoing is true and correct.

Executed on November 30 , 2021.




                                        Aim ee Forehand (Nov 30, 202112:14 EST)

                                        Aimee Forehand
                                        Director, State Health Plan
                                        Blue Cross and Blue Shield of North Carolina




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    NUCC Instruction Manual available at: www nucc org                                                  PLEASE PRINT OR TYPE                                                 APPROVED OMB-0938-1197 FOAM 1500 (02-12)


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 BECAUSE THIS FORM 1S USEO BY VARIOUS GOVERNMENT AND PRIVATE HEALTH PROGRAMS, SEE SEPARATE INSTRUCTIONS ISSUED BY APPLICABLE PROGRAMS.

 NOTICE: Any person who knowingly Illus a statument of claim containing any misrepresentation or any false, lncompleto or misleading lnformallon may bo guilty of a
 criminal act punlst,able under law and may be subject lo civil penalties.

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                                                                        BLACK LUNG AND FECA CLAIMS
 The provider agrees to accept the amount paid by the Government as payment in full. See Black lung and FECA instructions regarding required procedure and diagnosis coding systems.

                                             SIGNATURE OF PHYSICIAN OR SUPPLIER (MEDICARE, TRICARE, FECA AND BLACK LUNG)
 In submilling thrs cta,m for payment from fedoral funds. I certify that: 1) the information on this form is lrun, accurate and complete, 2) I have lami!Jcmwd myself with all appllcablc laws.
 regulations. and program instructions, which are available from lhe Medicare contractor; 3) I have provided or will provide sufficient Information required to allow the government to make an
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 For TAICARE claims. I further certily that I (or any employee) who rendered services am not an active duty member of the Unilormod Services or a civilian employee of the United States
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 No Part B Medicare benol11s may bo paid unloss this form is received as required by oKisling law and regulations (42 CFA 424.32).

 NOTICE: Any one who misrepresents or falsifies essential information to receive payment from Federal funds requested by this form may upon conviction be sub1ect to fine and ,mpnsonment
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         NOTICE TO PATIENT ABOUT THE COLLECTION ANO USE OF MEDICARE, TRICARE, FECA, AND BLACK LUNG INFORMATION (PRIVACY ACT STATEMENT)
 We nro authorized by CMS, TAICARE and OWCP to ask you lor inlormation needed In the administration of the Medicare. TAICARE, FECA. and Black lung programs. Authority to collect
 information is in section 2D5(a), 1862. 1872 and 1874 of the Social Security Act as amended, 42 CFR 411.24(a) rind 424.S(a) (6), nnd 44 USC 3101.41 CFA t01 el seq and 10 USC 1079
 and 1086; 5 USC 8101 et seq; and 30 use 901 et seq; 38 USC 613: E.O. 9397.

 The information wo obtain to complete claims under lheso programs is used lo identity you and to dolermino your eligibility. It is also used lo dccrdo ii the services and supplies you received
 aro covered by these programs anci to insuro that proper payment is made.

The information may also be givon to other providnrs of services, carriers, intermediaries, medical roviow boards, hcallh pla11s. and other organizations or Fodoral agonc,cs, for tho olfectivc
administration of Federal provisions that require other third parties payers ta pay primary to Federal program. and as otherwise necessary lo administer these programs For example. ii may
be necessary to discloso information about the benefits you hove used lo a hospilal or doclor. Additional disclosures arc made through routine uses for inlormal1on contained in systems of
records.

FOR MEDICARE CLAIMS: Seo lhe notice modifying system No. □9•70•0501, titlod. ·comer Madicaro Claims Accord,' publist1od in lho Federal Register, Vol 55 No. 177, pago 37549,
Wed. Sept. 12. 1990, or as updated and republished.

FOR OWCP CLAIMS: Department of Labor, Privacy Act of 1974, "Republication of Nolico of Systems or Records." Federal Reg,ster Vol. 55 No. 40, Wed Fob 28, 1990, Sec ESA·5, ESA-6,
ESA-t2, ESA-t3. ESA-30. or as updaled and republished.

FOR-TRICARE-CLAfMS: PRINCIPlE PUAP0SE(S)~-To cvalumo otigib1i:ty for-mectic:at can, provttlO'O t1y-cMllan-saurces am! tcr ISsiWpaymehf upon eslabTTshmenl                        or eligibility ;ind
determination lhal the servicos/supplies received are authorized by law

ElQllIJNE_U_SE[SJ; Jntormalion from clmms and related documents may be given lo Iha Dept. of Vetmans Atfairs. the Dept. of Health and Humart Services anciior the Dept of Transponation
cons1stonl with their slaluto,y administrai've resporisibil1ties under TAICAAE/CHAMPVA. to tho Depl. of Juslico for representation of the Secretary or Delonse 1n civil ar.l1ons lo 1110 Internal
Revenue Service private colleclion agencies. and consumer reporting agencies In connection with recoupmont claims; and to Congressional Offices 1n response to inquiries made at the
request of tho person lo -,,horn a record per1ains Approprialo disclosures may be made to other fedornl state, local, !oroign government ilgcncios, private business onl1t,es and ind,v1dual
providers of earn. on matters relallng to entitlemcnl. claims adjudication lraud. program abuse, utilization ,ev1ew, q1.1alily assurance. peer review. program integrity, third party liabrl,ty,
coordination ol benef1ls, and civil and criminal litrgatron related to Iha operation ol TAfCARE.

DJSCLQSUflES; Voluntary; however. la, ure to provide information will result in delay in payment or may result in donial ol claim, Wilh the one excaption discussed below !here are no
pcna·lios undor those pro[Jrams for rofusing 10 supply information However. failure to furnish mformalion regardin[J tho modical scrvicos rondercd or the amount chnrgcd would provont
paymem of claims under theso programs, Failuro lo furnish any other inlormation. such as name or claim number. would delay payment ol 1110 claim. Failure to provide medical information
under FECA co1ild i}o deemed an obstrnclior,.

II is mandate ry that you tell us if you know tha1 another pany is responsible for paying for your treatment Section 1128B of the Social Security Act and 31 USC 3801 38 t 2 provide penalties
for wi1hholding this information.

You should bo aware that P.L. 100-503. tt,e "Computer Matcl1ing and Privacy Protection Act of 1988·•, permits the governmcnl to verify inlormation by way o! computer matches

                                                                MEDICAID PAYMENTS (PROVIDER CERTIFICATION)
I hereby agree to krep such records as a·e necessary to discloso fully tho extent of services provided lo individuals under the Slate's Title XIX plan and to furnish information regarding any
paym, nls claimed •or providing such scrvicos as the State Agency or Dept of Hoallh and Human Services may request.

I further agree to accept. as payment in full, tho amount paid by the Medicaid pmgrilm for those claims submillod for paymenl 1mder thal program with lhe 8KCeption or authori2ed deductible,
co!ns ranee, co-paymcn1 or sunilar cost-sharing charge

SIGNATURE OF PHYSICIAN (OR SUPPLIER): I cor1ify that tho services !istad above wcro medically indicated and nccossary lo tho health of this pat,ont and were personally furn,shod by
me or my employeo under my personal d rection

NOTICE: This 1s !o cer1ify that the forngrnng inlorrnat1on is truo. nccuralc and completo 1undnrstand th;il payrnant and satisfaction of this claim will bo from Federal and Slalo funds. and that
,my !also claims. st~temenls. or documents. or concealment of o material fact. may be prosecuted under applicable Federal or Slate laws

According !o the Papcn•:ork Reduction Act of 1995, no persons arc required to respond to a collection of inlormalion unless ii displays a valid 0MB control number Tho valid 0MB control
number for this 1nlormation collection is 0938-1197 The time required lo complete lhrs mlormat1on collection 1s estimated to average to minutes per response including the lime lo review
instructions. search ex1s1ing data resources gather the data needed. and complete and review the inlorrnation colleclion. If you have any comments concerning the accuracy of lhe time
osl1matols) or suqqcstions for 11npr□v1ng this form. pleaso write to· CMS. 7500 Security Boulevard. Attn: PRA Reports Clearance Officer. Mail Stop C4 26·05 Baltimore , Maryland
21244•1850. Thi$ address is for commonls and/or suggestions only DO NOT MAIL COMPLETED CLA11\,1 FOAMS TO THIS ADDRESS.


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              __                                                                                                      __                                                                                                                                        __

     1                                                                        2                                                                                          3a PAT.                                                                                 4    TYPE
                                                                                                                                                                         CNTL #                                                                                      OF BILL
                                                                                                                                                                         b. MED.
                                                                                                                                                                         REC. #
                                                                                                                                                                                                           6        STATEMENT COVERS PERIOD                7
                                                                                                                                                                          5 FED. TAX NO.
                                                                                                                                                                                                                     FROM         THROUGH



     8 PATIENT NAME                  a                                                        9 PATIENT ADDRESS                  a

     b                                                                                        b                                                                                                                       c            d                                 e

     10 BIRTHDATE             11 SEX                    ADMISSION                                                                                         CONDITION CODES                                                      29 ACDT 30
                                          12    DATE      13 HR 14 TYPE 15 SRC 16 DHR 17 STAT             18     19             20                 21      22      23     24           25            26        27         28    STATE


     31  OCCURRENCE              32   OCCURRENCE               33    OCCURRENCE               34   OCCURRENCE                     35                    OCCURRENCE SPAN                        36                   OCCURRENCE SPAN                        37
     CODE      DATE              CODE       DATE                CODE       DATE               CODE       DATE                     CODE                   FROM          THROUGH                 CODE                  FROM          THROUGH
a                                                                                                                                                                                                                                                                              a


b                                                                                                                                                                                                                                                                              b

     38                                                                                                                                            39          VALUE CODES                  40            VALUE CODES                    41           VALUE CODES
                                                                                                                                                   CODE           AMOUNT                    CODE             AMOUNT                       CODE           AMOUNT
                                                                                                                                               a
                                                                                                                                               b
                                                                                                                                               c
                                                                                                                                               d
     42 REV. CD.    43 DESCRIPTION                                                           44 HCPCS / RATE / HIPPS CODE                               45 SERV. DATE         46 SERV. UNITS              47 TOTAL CHARGES                 48 NON-COVERED CHARGES        49

1                                                                                                                                                                                                                                                                              1

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23
                    PAGE                   OF                                                           CREATION DATE                                                         TOTALS                                                                                           23

                                                                                                                      52 REL.         53 ASG.
     50 PAYER NAME                                                    51 HEALTH PLAN ID                                                       54 PRIOR PAYMENTS                    55 EST. AMOUNT DUE                     56 NPI
                                                                                                                       INFO            BEN.

A                                                                                                                                                                                                                         57                                                   A

B                                                                                                                                                                                                                         OTHER                                                B

C                                                                                                                                                                                                                         PRV ID                                               C


     58 INSURED’S NAME                                                             59 P. REL 60 INSURED’S UNIQUE ID                                                     61 GROUP NAME                                     62 INSURANCE GROUP NO.

A                                                                                                                                                                                                                                                                              A

B                                                                                                                                                                                                                                                                              B

C                                                                                                                                                                                                                                                                              C


     63 TREATMENT AUTHORIZATION CODES                                                              64 DOCUMENT CONTROL NUMBER                                                                  65 EMPLOYER NAME

A                                                                                                                                                                                                                                                                              A

B                                                                                                                                                                                                                                                                              B

C                                                                                                                                                                                                                                                                              C

     66
     DX        67                        A                   B                         C                       D                                    E                        F                            G                        H                  68


                I                        J                   K                         L                       M                                    N                        O                             P                       Q
     69 ADMIT

     74
        DX
                                70 PATIENT
                                REASON DX
              PRINCIPAL PROCEDURE          a.
                                                            a
                                                            OTHER PROCEDURE
                                                                                  b           b.
                                                                                                      c         71 PPS
                                                                                                                   CODE
                                                                                                         OTHER PROCEDURE                                75
                                                                                                                                                             72
                                                                                                                                                             ECI            a                             b                        c             73


                                                                                                                                                                          76 ATTENDING         NPI                                       QUAL
            CODE              DATE                       CODE            DATE                         CODE              DATE
                                                                                                                                                                          LAST                                                         FIRST
     c.         OTHER PROCEDURE                    d.       OTHER PROCEDURE                   e.         OTHER PROCEDURE                                                                                                                 QUAL
             CODE            DATE                        CODE            DATE                         CODE            DATE                                                77 OPERATING         NPI

                                                                                                                                                                          LAST                                                         FIRST
                                                                            81CC
     80 REMARKS                                                                                                                                                           78 OTHER             NPI                                       QUAL
                                                                               a
                                                                              b                                                                                           LAST                                                         FIRST

                                                                              c                                                                                           79 OTHER             NPI                                       QUAL

                                                                              d                                                                                           LAST                                                         FIRST
     UB-04 CMS-1450                            APPROVED OMB NO. 0938-0997                                                                                                THE CERTIFICATIONS ON THE REVERSE APPLY TO THIS BILL AND ARE MADE A PART HEREOF.
                                                                                                               NUBC
                                                                                                                       ™    National Uniform
                                                                                                                           Billing Committee


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                        UB-04 NOTICE:       THE SUBMITTER OF THIS FORM UNDERSTANDS THAT MISREPRESENTATION OR FALSIFICATION
                                            OF ESSENTIAL INFORMATION AS REQUESTED BY THIS FORM, MAY SERVE AS THE BASIS FOR
                                            CIVIL MONETARTY PENALTIES AND ASSESSMENTS AND MAY UPON CONVICTION INCLUDE
                                            FINES AND/OR IMPRISONMENT UNDER FEDERAL AND/OR STATE LAW(S).



Submission of this claim constitutes certification that the billing            (b) The patient has represented that by a reported residential address
information as shown on the face hereof is true, accurate and complete.            outside a military medical treatment facility catchment area he or
That the submitter did not knowingly or recklessly disregard or                    she does not live within the catchment area of a U.S. military
misrepresent or conceal material facts. The following certifications or            medical treatment facility, or if the patient resides within a
verifications apply where pertinent to this Bill:                                  catchment area of such a facility, a copy of Non-Availability
                                                                                   Statement (DD Form 1251) is on file, or the physician has certified
1. If third party benefits are indicated, the appropriate assignments by           to a medical emergency in any instance where a copy of a Non-
   the insured /beneficiary and signature of the patient or parent or a            Availability Statement is not on file;
   legal guardian covering authorization to release information are on file.
   Determinations as to the release of medical and financial information       (c) The patient or the patient’s parent or guardian has responded
   should be guided by the patient or the patient’s legal representative.          directly to the provider’s request to identify all health insurance
                                                                                   coverage, and that all such coverage is identified on the face of
2. If patient occupied a private room or required private nursing for              the claim except that coverage which is exclusively supplemental
   medical necessity, any required certifications are on file.                     payments to TRICARE-determined benefits;
3. Physician’s certifications and re-certifications, if required by contract   (d) The amount billed to TRICARE has been billed after all such
   or Federal regulations, are on file.                                            coverage have been billed and paid excluding Medicaid, and the
4. For Religious Non-Medical facilities, verifications and if necessary re-        amount billed to TRICARE is that remaining claimed against
   certifications of the patient’s need for services are on file.                  TRICARE benefits;

5. Signature of patient or his representative on certifications,               (e) The beneficiary’s cost share has not been waived by consent or
   authorization to release information, and payment request, as                   failure to exercise generally accepted billing and collection efforts;
   required by Federal Law and Regulations (42 USC 1935f, 42 CFR                   and,
   424.36, 10 USC 1071 through 1086, 32 CFR 199) and any other                 (f) Any hospital-based physician under contract, the cost of whose
   applicable contract regulations, is on file.                                    services are allocated in the charges included in this bill, is not an
6. The provider of care submitter acknowledges that the bill is in                 employee or member of the Uniformed Services. For purposes of
   conformance with the Civil Rights Act of 1964 as amended. Records               this certification, an employee of the Uniformed Services is an
   adequately describing services will be maintained and necessary                 employee, appointed in civil service (refer to 5 USC 2105),
   information will be furnished to such governmental agencies as                  including part-time or intermittent employees, but excluding
   required by applicable law.                                                     contract surgeons or other personal service contracts. Similarly,
                                                                                   member of the Uniformed Services does not apply to reserve
7. For Medicare Purposes: If the patient has indicated that other health           members of the Uniformed Services not on active duty.
   insurance or a state medical assistance agency will pay part of
   his/her medical expenses and he/she wants information about                 (g) Based on 42 United States Code 1395cc(a)(1)(j) all providers
   his/her claim released to them upon request, necessary authorization            participating in Medicare must also participate in TRICARE for
   is on file. The patient’s signature on the provider’s request to bill           inpatient hospital services provided pursuant to admissions to
   Medicare medical and non-medical information, including                         hospitals occurring on or after January 1, 1987; and
   employment status, and whether the person has employer group                (h) If TRICARE benefits are to be paid in a participating status, the
   health insurance which is responsible to pay for the services for               submitter of this claim agrees to submit this claim to the
   which this Medicare claim is made.                                              appropriate TRICARE claims processor. The provider of care
8. For Medicaid purposes: The submitter understands that because                   submitter also agrees to accept the TRICARE determined
   payment and satisfaction of this claim will be from Federal and State           reasonable charge as the total charge for the medical services or
   funds, any false statements, documents, or concealment of a                     supplies listed on the claim form. The provider of care will accept
   material fact are subject to prosecution under applicable Federal or            the TRICARE-determined reasonable charge even if it is less
   State Laws.                                                                     than the billed amount, and also agrees to accept the amount
                                                                                   paid by TRICARE combined with the cost-share amount and
9. For TRICARE Purposes:                                                           deductible amount, if any, paid by or on behalf of the patient as
   (a) The information on the face of this claim is true, accurate and             full payment for the listed medical services or supplies. The
       complete to the best of the submitter’s knowledge and belief, and           provider of care submitter will not attempt to collect from the
       services were medically necessary and appropriate for the health            patient (or his or her parent or guardian) amounts over the
       of the patient;                                                             TRICARE determined reasonable charge. TRICARE will make
                                                                                   any benefits payable directly to the provider of care, if the
                                                                                   provider of care is a participating provider.




SEE ht t p: //www.n u b c .o r g/ FOR MORE INFORMATION ON UB-04 DATA ELEMENT AND PRINTING SPECIFICATIONS




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